, ,, , ,,,,,,,Case,;A: 17-,,0\/-,01335,-,(;[)1?,,,,,,Doc.,,,#;,,,,¢,l¢l ,, ,Eiled:, 0,41'14/11,,,l?<'1).<`;1@;,,1,01‘,,lt)rr P,,agelD,#: 22 , ,,

IN -THE llTH JUDICIAL CIRCUIT COURT, ST. CHARLE‘S COUNTY, MISSOURI

`

 

 

.ludge or Division: Case Number:~ 1711-AC00948

 

MAT'I`HEW B P THORNHILL
Plaintiff/Petitioner: Plaintift’s/Petitioner’s Attomey/Address:
AlME SMITH ' DOMlNlC M PONTELLO

PONTELLO & BRESSLER

406 BOONBS LICK RD

SAlNT CHARLES, MO 63301
vs. (636) 896-4170

 

 

 

 

' Defendant/R¢spondent: Datc, Tinre and Location ofCourt Appcarnnce:
RAC ACCEPTANCE EAST LLC ZS-MAR-Zol 7, 09:00 AM
DBA: ACCEPTANCE NOW DlVlSlON 12 COURTROOM
Nature of Suit: 300 N 2'“’ STREET _ k '
AC Ocher Torr SA'NT CHARLES, MO 63391 route Fne smmp)

 

Associate Division Summons

The State of Missouri to: RAC ACCEPTANCE EAST LLC
Alias:
DBA: ACCEPTANCE NOW
R/A CI` CORPORAT|ON SVSTEM
120 SOUTH CENTRAL AVE
ST LOU|S, MO 63105

 

COURTSEAL or You are summoned to appear before this court on the dnte, time, and location above to answer the attached petition.
lf you fail to do so,judgment by default will be taken against you for the relief demanded in the petition. You may be
~ ' permitted to file certain responsive pleadings, pursuant to Chapter 517 RSMo. Should you have any questions regarding
responsive pleadings in this case, you should consult an attomey.
Ii` you have a disability requiring special assistance for your court appearance, please contact the court at least 48
hours in advance of scheduled hearing. '

2/22/2017 /S/ Judy Zerr
ST. CHARLES CO0NT}' Date l Clerk

Further lnformation:

 

 

Sheril'f’s or Server’s Return
Note to serving ol'l'rcer: Service must not be made less than ten days nor more than sixty days ii'om the date the Det`endant/Respondent is to
appear in court.

l certify that l have served the above summons by: (check one)

I:_l delivering a copy of` the summons and a copy of the petition to the Defendant/Respondent.

I:I leaving a copy oi` the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
a person of the Defendant’s/Respondent‘s family over the age of 15 years.
l:] (ii)r service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

 

 

 

(name ) (title).
[:] other .
served ar . ' (addn=ss) -
in (County/City ofSt. L.ouis), MO, on _ (date) at v '(time).
Printed Name of Sheriff or Server Sigmtu’e of Shefit’for Server
Must be sworn before a notary public if not served by an authorized omcer:
(Sea') Subscnbed and swom to before me on (date).
' My commission expires:
Date Notary Public
Sherii'l's Fees, if applicable
Summons $
Non Est $
Sherif'l"s Deputy Salary
Supplemental Surcharge $ 10.00 _
Mileuge $ ( miles @ $. per mi le)
Tota| S '

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes ol`suits,
see Supreme Court Rule 54.

 

 

 

EXH|BIT

OSCA (7-09) SM20 (ADSM) For Courl U.re UnIy: Document lD# l7-ADSM-753 l § g v 517.041 RSMo

 

Case:4:17-cv-01335-CDP Doc.#: 4-1 Filed:04/14/17 Page:Zof 10 Page|D #: 23

1711-Acooo4a

IN THE cIRcilnT coURT
SAINT CHARLES COUNTY
STATE OF MISSOURI
ASSOCL'\TE DIVISION
AMIE SMITH, )
)
Plaintiff's, )
) Cause No.
v. ' )
) Division
RAC ACCEPTANCE EAST, LLC )
)
D/B/A )
)
ACCEPTANCE NOW )
)
Serve at: )
CT CORPGRATION SYSTEM )
120 SOUTH CENTRAL AVE )
CLAYTON, MO 63105 )
)
Defendant. ) JURY TRIAL DEMANDED

PETITION
COMES NOW, Plaintiff, Aimee Smith, and for her Pctition states as follows:
INTRODUCTION

l. 'I`his is an action for statutory damages brought by an indiyidual consumer for
violations ofthe Telephone Consumer Protection Act of 1991("TCPA"), 47 USC 227 et. Seq.

2. This is an action for actual and punitive damages brought by an individual
consumer for invasion of privacy

3. This is an action for actual and punitive damages brought by an individual
consumer for intentional infliction of emotional distress 1

4. Plaintitt` demands a trial by jury on all issues so triable.

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M.Q.H

5. This'Court hasjurisdiction of the TCPA claim under 47 U.S.C. § 227 (3)(b).
Venue is appropriate in this Court because Defendant placed prohibited telephone calls to
Plaintiff at her cellular phone located in St. Charlcs County, Missouri.

6. This Court hasjurisdiction ofthe claim of invasion of privacy because the
conduct giving rise to the claim occurred in St. Charles County, Missouri.

7 . This Court hasjurisdiction of the claim of intentional infliction of emotional
distress because the conduct giving rise to the claim occurred in St. Charles County, Missouri.

PARTIES

8. Plaintift` is a natural person currently residing in St. Louis County, Missouri.

9. ` Defendant RAC Acceptance East LLC, doing business as Acceptance Now,
(“RAC”) is a foreign corporation with its principal place of business in Plano, TX.

Telephone Consuiner Protection Act

10. At all times relevant to this complaint, the Plaintiff was and is a “person” as
defined by the TCPA 47 U.S.C. § 153(39).

ll. At all times relevant to this complaint, Defendant has owncd, operated, and or
controlled “customer premises equipment” as defined by the TCPA 47 U.S.C. § 153(16) that
originated, rcuted, and/or terminated telecommunications

12. Defendant at all times relevant to the complaint herein engages in
“telecommunications” as defined by the TCPA 47 U.S.C. § 153(50).

l3. Det`endant at all times relevant to the complaint herein engages in “interstate
communications” as defined by the TCPA 47 U.S.C. § 153(28).

l4. At all times relevant to this complaint, Defendant has used, controlled, and/or

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operated “wire communications” as defined by the TCPA 47 U.S.C. § 153(59), that existed as

instrumentalities of interstate and intrastate commerce
15. At all times relevant to this complaint, Defendant has used, controlled, and/or
Operated “automatic telephone dialing systems” as defined by the TCPA 47 U.S.C. § 227(a)(])
and 47 C.F.R. 64.1200(£)(2).
Invasion ofPrivacy
16. The Federal Communications Commlssion recognized the costs and damage to a
consumer’s right to privacy that robo calls created:
Noting that Congress found that automated or prerecorded telephone calls
were a greater nuisance and invasion of privacy than live solicitation calls,
and that such calls can be costly and inconvenient, the Commission
determined that the TCPA and its rules prohibit such calls to wireless
numbers The Commission also recognized that wireless customers are

charged for incoming calls whether they pay in advance or atter the
minutes are used.

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In the Matter ofRules and Reg'ulations Implementing the Telephone Consumer Protection Act of
1991 , 23 FCC Rcd 559,1[7 (Jan. 4, 2008).
_I!`.LL.C_I_S_

17. Within four years immediately preceding the filing of this lawsuit, Defendant
attempted to collect an account balance by calling the Plaintift"s cellular phone using an
automatic telephone dialing system on numerous occasions and leaving pre-recorded messages
on the Plaintiff’s answering service in violation of the TCPA.

18. Beginning in October of 201 6, Defendant began attempts to collect payment on
an account balance for furniture purchased by Plaintiff from Value City Furniture which
Dct`endant financed

l9. In its attempt to collect payment on the account, Defendant made automatic dialed

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phone calls and lett pre-recorded messages on Plaintift"s cell phone.

20. On or about October 19, 2016, Plaintiff called Defendant in response to multiple
phone calls she had received in an attempt to collect payment.

21. During the October 19, 2016 phone call, Plaintiff told Defendant not to call her
cellular phone at all.

22. Plaintit`f never gave her express written consent to Defendant to be called on her
cellular telephone by automatic dialed telephone calls or prerecorded messages

23. Specifically, Plaintiff never signed any writing containing a clear and conspicuous
disclosure, as required under 47 C.P.R. § 64.1200(®(8)(0, informing the Plaintift` that by
executing an agreement, Plaintiff consents to receive phone calls delivered using an automatic
telephone dialing system or an artificial or prerecorded voice.

24. Defendant RAC’s phone calls came from its numbers, 636-278-4511, 314-564-
7517. l

25. In addition to the unwanted and repeated phone calls Det`endant sent agents to the
Plaintift’s home to leave door hangers and called her place of employment to harass and
intimidate her into making payment on her account.

Vialatiaus of the TCPA

26. Defendant RAC never obtained express written consent from Plaintiff to place
telephone calls to Plaintii’t"s cellular phone using an automatic telephone dialing system or to
send pre-recorded messages to Plaintiti'"s cellular phone.

27. Beginning in October 2016, Defendant began attempts to collect payment on the
account by making numerous unsolicited and unauthorized phone calls to Plaintiff’s cellular

phone number, (314) 369-9429, using an automatic telephone dialing system and pre-recorded

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messages

28. Plaintitt" received numerous such illicit pre-recorded and/or synthesized phone
calls or voice messages from Det`endants’ automatic telephone dialing system dating from
December 17, 2016 to January ll, 2017, and she was charged for these phone calls, in violation
of 47 U.S.C. § 227(b)(l)(A)(iii).

29g Defendant’s phone calls for Plaintiff Were placed from Defendants’ automatic
telephone dialing system, as defined by 47 U.S.C. § 227(a)(l), ii'orn the phone number that is
registered to the Defendant.

30. Specitically, Defendants’ dialing system has the capacity to store, dial, and
generate phone numbers such as Plaintili"s.

Invasion of Privacy - Intrusion Upon Seclusion

3 l. Det`endants intentionally and/or negligently interfered, physically or otherwise,
with the solitude, seclusion and or private conoems or affairs ofPlaintili` by repeatedly and
unlawtiilly calling Plaintii`f’s cellular telephone without consent by the Plaintiff, and thereby
invaded Plaintift"s right to privacy.

32. Plaintiii` had a reasonable expectation of privacy in Plaintiit`s’ solitude, seclusion,
private concerns or affairs

33. The conduct of Defendant in engaging in the above-described illegal collection
conduct against Plaintifi`, resulted in multiple intrusions and invasions of privacy by Defendant
that occurred in a way that would be highly offensive to a reasonable person in that position.

34. As a result of such intrusions and invasions of privacy, Plaintitt` is entitled to
actual damages and punitive damages from Defendant in an amount to be determined at trial.

Intentional Injliction of Emotional Diszress

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35 . Defendant acted intentionally and recklessly with regards to contacting Plaintitt`
on her cellular phone using an auto-dialer and pre-recorded messages without regards as to the
laws regarding consent to being called using such methods

36. Defendant acted intentionally and recklessly with regards to contacting Plaintiff at
her horne using agents to leave door hangers and calling her place of employment

37. l Defendants conduct was extreme and outrageous and was specifically designed
and calculated to harass and intimidate Plaintiii` to cause emotional distress

38. The conduct of Defendant in engaging in the above~described illegal collection
caused Plaintiff to suffer severe emotional distress, depression and anxiety.

COUNT I: VIOLATION OF THE TCPA

39. Plaintift` re-alleges and incorporates by reference all prior paragraphs

40. In its attempts to collect the alleged debt from Plaintiti`, Det`endant has committed
violations ot`the TCPA, 47 USC 227 et. seq., including, but not limited to, the following:

a. Placing non-emergency phone calls to Plaintif`t"s cellular phone without
express authorized consent ot` the Plaintifi`. 47 USC 227(b) (l) (A) (iii).
WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant for:

A. Judgment that Defendant’s conduct violated the TCPA;

B. Actual damages;

C. Statutory damages pursuant to 47 USC (b)(3); and

D. For such other relief as the Court may deem just and proper.

COUN'I` II: INVASION OF PRIVACY - INTRUSIQN UPON SECLUSION

4l. Plaintift` re-alleges and incorporates by reference all prior paragraphs

42. The aforementioned intrusion upon seclusion by Defendant was highly offensive

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to a reasonable person.
WHEREFORE, Plaintift` respectfully requests thatjudgment be entered against Defendant for:
A. Actual damages;
B Punitive damages;
C. Court costs;
D For such other relief as the Court may deem just and proper.
COUNT III: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
43. Plaintiff re~alleges and incorporates by reference all prior paragraphs
44. The aforementioned intentional infliction of emotional distress by Defendant was
outrageous and extreme, committed intentionally and recklessly, and caused Plaintiff to
suffer severe emotional distress
WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant for:
A. Actual damages;
B Punitive damages;
C. Court costs;
D For such other relief as the Court may deem just and proper.
Respectfully submitted by,
PONTELLO & BRESSLER
/s/ Dominic M. Pontello
DOMINIC M. PONTELLO. #60947
ISAAC J. BRESSLER, #66379
406 Boones Liclc Rd_
St. Charles, Missouri 63301
(636) 896-4170

(636) 246-0141 facsimile
dominic@pontellolaw.com

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ll\l THE ClRCUlT COURT OF SAINT CHARLES COUNTY
STATE OF MISSOURI
ASSOCIATE DlVlSlON
AMIE SMITH, )
)
Plaintif‘f, )
v. ) Cause No.
)
ACCEPTANCE N()W )
) Division
)
Defendant. ) JURY TRIAL DEMANDED

REQUEST FOR APPOINTMENT ()F PR()CESS SERVER
COMES NOW, undersigned counsel, pursuant to Local Rules, and at his own risk

requests the appointment ofthe Circuit Clerl< of:

sER\/ICES RENDEREI), INC., LAWRENCE RoTH, MARYBETH RICE, NETTA
MCCLINToCK, MARK wILCoX, PAT MEDLEY, RICHARD LANGDoN, KATHLEEN
LANGDoN
220 w. LoCKwool) AVE, sTE 104, sT. LoUIs, Mo 63119
(314) 918-0448

Natural persons of lawful age to serve the summons and petition in this cause on the
below named parties This appointment as special process server does not include the
authorization to carry a concealed weapon in the performance thereof

SERVE AT:
CT CORPORATION SYSTEl\/l, R/A
l20 SOUTH CENTRALAVE
CLAYTON, l\/IO 63}05
Pontello Law, LLC
/s/ Dominic l\/l. Pontello

 

All Risl<s to Plaintiti` Dominic l\/l. Pontello, #6()947
So Appointed: Attorney vl?or Plaintiff
406 Boones Liok Rd
Date: ALL RISKS TO PLAINTIFF St. Charles, l\/lO 63301
80 APP()lNTED: (636) 896-4} 7()

By; /s/ )UDY ZERR emmewa (636)246-0141 facsimile

 

 

 

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IN THE ELEVENTH JUDICIAL CIRCUIT FILED

SAINT CHARLES COUNTY, MISSOURI MAR 28 2017
ASSOCIATE CIVIL DIVISION

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' assess
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PLMNTIFF cAUsE No. / ¥/ / ‘/{`C 00 g ‘/8
vs
`RA<@ ALLl/Q'l Kl§bt ll:,lir§'l )-L@ DIvIsIoN: / u?
DEFENDANT L l~/,/,`z jj
MEMORANDUM / CRDER
CoMES Now AND ENTERS THEIR APPEARANCE
As ArroRNEY FOR .
oAsE coNTINUED To /\M`/ QNB AT 07 100 @PM_

 

BY D rI:`__N}_JAM_\ m coNsENT
FoR TRLAL cA L DOCKET m sE'mNG 012 DISPOSITION

l:l COMES NOW THE (PLAINTIFF/DEFENDANT) AND REQUESTS A CHANGE OF` JUDGE.
MOTION IS (GRANTED/DENIED]. IF MOTION IS GRANTED, THE CAUSE IS ASSlGNED TO
DIVlSION AND SET FOR (TRIAL/ANNOUNCEMENT) ON

 

m COMES NOW (PLAINTIFF/DEFENDANT) AND REQUESTS A TRIAL BY JURY.

l:l CASE DISMISSED WITH/WITHOUT PREJUDICE AT PLAINTIFFS COSTS.

l:l CASE CALLED. PARTIES FAIL TO APPEAR. CASE DISMISSED WITH/WITHOUT
PREJUDICE FOR FAILURE TO PROSECUTE/LACK OF SERVICE AT PLAINTIFFS COS'I`S.

ij oTHER;

 

 

 

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PL.AINT!FF/ PLA.INTIF{'"S ATTORNEY BAR # DEFENDANT/ DEFENDA.NT’S ATTOR.NEY BAR #

 

 

 

ADDRESS, CITY STATE h Zl`P ADDRESS, CITY STATE & ZIP

 

 

PHONE NUMBER PHONE NU'MBER

SO ORDER_ED:

DATE:

 

 

JUDGE BAR #

 

 

 

